                Case 17-51882-CSS            Doc 391     Filed 02/23/21    Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

  In re:
                                                                   Chapter 11
  PARAGON OFFSHORE PLC,
                                                                   Case No. 16-10386 (CSS)
                               Debtor.
                                                                   Ref. Docket No. 2223

  PARAGON LITIGATION TRUST,

                             Plaintiff,                            Adv. Pro. No. 17-51882 (CSS)

                             v.

  NOBLE CORPORATION PLC, NOBLE
  CORPORATION HOLDINGS LTD, NOBLE                                  Ref. Adv. Docket No. 389
  CORPORATION, NOBLE HOLDING
  INTERNATIONAL (LUXEMBOURG) S.à r.l.,
  NOBLE HOLDING INTERNATIONAL
  (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
  HOLDINGS LIMITED, MICHAEL A. CAWLEY,
  JULIE H. EDWARDS, GORDON T. HALL, JON A.
  MARSHALL, JAMES A. MACLENNAN, MARY P.
  RICCIARDELLO, JULIE J. ROBERTSON, and
  DAVID WILLIAMS,

                             Defendants.

         CERTIFICATION OF COUNSEL REGARDING THE PARAGON
  LITIGATION TRUST'S MOTION FOR ENTRY OF AN ORDER APPROVING THE
    SETTLEMENT AMONG THE PARAGON LITIGATION TRUST, THE NOBLE
               DEFENDANTS, AND THE D&O DEFENDANTS

        The undersigned hereby certifies the following:

                 1.          On February 4, 2021, the Paragon Litigation Trust (the “Trust”) filed The

Paragon Litigation Trust's Motion for Entry of an Order Approving the Settlement Among the

Paragon Litigation Trust, the Noble Defendants, and the D&O Defendants [Case No. 16-10386,

Docket No. 2223; Adv. Case No. 17-51882, Adv. Docket No. 389] (the “Settlement Motion”) with

the U.S. Bankruptcy Court for the District of Delaware (the “Court”).



DOCS_DE:233072.1 69038/001
                Case 17-51882-CSS            Doc 391     Filed 02/23/21    Page 2 of 3




                 2.          Pursuant to the notice of the Settlement Motion, responses were due to be

filed on or before February 18, 2021 at 4:00 p.m. prevailing Eastern Time (the “Objection

Deadline”). The Trust granted an extension of the Objection Deadline for the U.S. Trustee (the

“UST”) to February 24, 2021 at 4:00 p.m. prevailing Eastern Time. The UST provided informal

comments to the Settlement Motion. No other responses were received to the Settlement Motion.

                 3.          A revised proposed form of order (“Revised Proposed Order”)

incorporating the UST’s comments is attached hereto as Exhibit A. A blackline comparison of

the Revised Proposed Order against the form of order filed with the Settlement Motion is attached

hereto as Exhibit B.

                 4.          The Noble Defendants have consented to the entry of the Revised Proposed

Order. Accordingly, the Trust respectfully requests entry of the Revised Proposed Order at the

Court’s earliest convenience.

Dated: February 23, 2021
                                                      PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ Timothy P. Cairns
                                                      Laura Davis Jones (DE Bar No. 2436)
                                                      Timothy P. Cairns (DE Bar No. 4228)
                                                      919 N. Market Street, 17th Floor
                                                      P.O. Box 8705
                                                      Wilmington, DE 19899-8705 (Courier 19801)
                                                      Telephone: (302) 652-4100
                                                      Facsimile: (302) 652-4400
                                                      Email: ljones@pszjlaw.com
                                                             tcairns@pszjlaw.com

                                                      – and –




                                                     2
DOCS_DE:233072.1 69038/001
                Case 17-51882-CSS   Doc 391   Filed 02/23/21    Page 3 of 3




                                          KIRKLAND & ELLIS LLP
                                          David J. Zott, P.C. (admitted pro hac vice)
                                          Jeffrey J. Zeiger, P.C. (admitted pro hac vice)
                                          William E. Arnault (admitted pro hac vice)
                                          Anne I. Salomon (admitted pro hac vice)
                                          300 N. LaSalle Street
                                          Chicago, IL 60654
                                          Telephone: (312) 862-2000
                                          Facsimile: (312) 862-2200
                                          Email: dzott@kirkland.com
                                                  jzeiger@kirkland.com
                                                  warnault@kirkland.com
                                                  anne.salomon@kirkland.com

                                          Co-Counsel for The Paragon Litigation Trust




DOCS_DE:233072.1 69038/001
